Case 1:14-ml-02570-RLY-TAB Document 22401-1 Filed 07/21/22 Page 1 of 1 PageID #:
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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                             Case No. 1:14-ml-2570-RLY-TAB
  MARKETING, SALES PRACTICES AND
                                                                               MDL No. 2570
  PRODUCTS LIABILITY LITIGATION

  This Document Relates to Plaintiff:
  JACK SWEAT
  Civil Case #1:20-cv-529


           ORDER GRANTING MOTION TO SUBSTITUTE PARTY PLAINTIFF



           The Court has considered the Plaintiff’s Motion to Substitute Party Plaintiff.

 IT IS ORDERED that the Motion to Substitute Party Plaintiff is GRANTED, and Susan

 Armstrong, on behalf of the Estate of Jack Sweat, is substituted as Plaintiff in the above referenced

 action.

           Dated this _______ day of ___________, 2022.




                                                         RICHARD L. YOUNG, JUDGE
                                                         United States District Court
                                                         Southern District of Indiana
